   Case 12-12870-JDW       Doc 64 Filed 10/23/18 Entered 10/23/18 08:01:54         Desc Order
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                                                                               CM/ECF osubmo1
                                                                                 (Rev. 06/29/18)

                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

In Re: Christopher W Wells and Amy M            )                Case No.: 12−12870−JDW
       Wells                                    )                Chapter: 7
       Debtor(s)                                )                Judge: Jason D. Woodard
                                                )
                                                )


                         ORDER TO SUBMIT PROPOSED ORDER
      The court hereby orders and directs Jeffrey A. Levingston to submit a proposed order (Re:
53 Application to Employ filed by Trustee Jeffrey A. Levingston, 54 Application to Compromise
Controversy filed by Trustee Jeffrey A. Levingston, 55 Application for Compensation filed by
Trustee Jeffrey A. Levingston). Order Due by 11/6/2018 Entered on Docket by: (SGF)
        Unless a proposed order is submitted to this court through the office of the Clerk of this
court on or before the date specified above, the court may enter whatever order is necessary,
which may include an order denying or overruling the motion, application, objection or complaint
filed in the above captioned case or an order scheduling a hearing for sanctions. In the event that
the proposed order has been forwarded to counsel opposite for approval and has not been returned
or submitted to the court by counsel opposite, the aforementioned attorney shall upload the
proposed order to e−Orders by the deadline. In the signature line for counsel opposite, the
submitting attorney shall note the dates of attempted contact with counsel opposite and the
method(s) of such contact.
       The applicability of the deadline imposed by this order is limited to submission of the
proposed order due. Therefore, this order does not extend any rights or protections that may
expire before the deadline herein or otherwise extend any deadline mandated by applicable
statutes, rules or other court orders.
Dated and Entered: 10/23/18
                                                    Jason D. Woodard
                                                    Judge, U.S. Bankruptcy Court
